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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
                                    www.flsb.uscourts.gov

In re:
                                                                   Case No. 23-12386-EPK
BANYAN CAY RESORT & GOLF, LLC, et a/ 1                             Chapter 11

                                                                   (Jointly Administered)

                         Debtor.
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            CONTRACT PURCHASER'S EMERGENCY MOTION TO MODIFY
            ORDER [ECF NO. 105] TO RESTATE LEGAL DESCRIPTION AND
               TO APPROVE A 21ST AMENDMENT TO AGREEMENT FOR
                     PURCHASE AND SALE OF REAL PROPERTY

                                    Emergency ReliefRequested
                                Statement of Exigent Circumstances

      The Closing of all the real estate by the Debtor to Westside and to Banyan Cay Estates,
      LLC is to take place by the end of July. The legal description for the Banyan Cay Estates
      LLC lots needs to be clarified and certain closing escrow provisions need to be
      approved. These are contained in the 21st Amendment which the parties seek to be
      approved. Banyan Cay Estates, LLC submits that no party will be prejudiced by the
      entry of the requested Order in light of the pending closing. Movant requests that the
      Court waive the provisions of Rule 9075-l(B) of the Local Rules which require that an
      affirmative statement that the Debtor has made a Bona Fide effort to resolve the issues
      raised in this expedited motion, as the relief requested herein is urgent in nature and
      does not lend itself to resolution in advance of a hearing.

           Contract Purchaser, Banyan Cay Estates, LLC, (hereinafter referred to as "BCE") by

    and through the undersigned attorney, hereby files this Emergency Motion for Contract

    Purchaser to Modify Order [ECF No. 105] to Restate Legal Description and to Approve a 21 st

    Amendment to Agreement for Purchase and Sale of Real Property, and as grounds state:

           1.      This case was commenced by the filing of a Chapter 11 Petition by the Debtor


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 The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
Resort & GolfLLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay Maintenance,
LLC. The address ofthe Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.
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